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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


          ORDER and INFORMATION TO MEMBERS OF THE PRESS

      The following provides information and directives to members of the press

with regard to the sentencing hearing scheduled for December 1, 2022.                Any

person found to be violating any of the directives herein shall be subject to

sanctions, including removal from the courthouse.1

      A. Access to the Courthouse and Interviews

      As previously ordered (Doc. 116), members of the press may not bring

electronics into the courthouse and no remote access to the hearing will be

available.

      The courthouse opens to the public at 7:30 a.m. All persons entering the

courthouse must comply with current COVID-19 protocols, show a government-

issued photo ID, and pass through a security screening device.                Any bags,

packages, purses, etc. will be examined through an X-ray machine. There will be



      1 The Court or the United States Marshals Service may make appropriate and necessary
adjustments to these procedures.
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a secondary security checkpoint outside the main courtroom and any overflow

courtroom.

      Acceptable forms of identification include official state or United States

identification such as a driver’s license or passport.       The only acceptable

international identification is a government-issued passport with a current United

States visa, if required.   Proper decorum is expected of all visitors to the

courthouse.

      Members of the press are prohibited from conducting interviews of any

persons (attorneys, witnesses, family members, etc.) while inside the courthouse

at any time, shall abstain from any contact with courtroom staff, and shall respect

the privacy of family members and any victims while inside the courthouse.

      Camera crews may be set up outside the courthouse. Camera crews should

be stationed at a reasonable location so as not to interfere with normal ingress or

egress. Members of the press shall not block the main courthouse entryway or

the steps.

      B. Access to the Courtroom

      The Court will ensure that an adequate number of seats are reserved for

members of the press in Courtroom 5-A. One seat per major media outlet will be

assigned. Application for this reserved seating may be made by completing a




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webform at https://apps.flmd.uscourts.gov/media/media.cfm by November 18,

2022.

        Additional reserved seating in Courtroom 5-A will be for witnesses, family,

and victims, with the remaining seats available to the public on a first-come, first-

served basis. If the courtroom reaches capacity, remaining members of the press

and public will be directed to an overflow courtroom, where the proceedings will

be broadcast via a closed-circuit audio/video feed.

        Due to the limited seating and seating restrictions, all persons must adhere

to all instructions given by the Court, Court Security Officers, and United States

Marshals.

        C. Sketch Artists

        Sketch artists who register are permitted in the main courtroom and the

overflow courtrooms. Sketch artists are cautioned to be discreet so as not to

disrupt court proceedings.       Sketch artists may register by completing the

webform at https://apps.flmd.uscourts.gov/media/media.cfm.

        D. Exhibits

        The Court will not provide copies of any exhibits introduced at the hearing.

All inquiries concerning viewing or copying exhibits shall be directed to the

United States Attorney’s Office’s Media Relations Department (for prosecution

exhibits) or to Attorney Fritz Scheller (for defense exhibits).



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         E. Inquiries

         All inquiries regarding this case by any member of the press shall be

directed to the Middle District of Florida’s Information Officer/Attorney Advisor

Megan Mann at 904-549-1915.        Members of the press shall not contact my

chambers directly, nor shall they contact any member of my staff or Clerk’s Office

staff.

         DONE and ORDERED in Orlando, Florida on October 17, 2022.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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